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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division

 COALITION FOR TJ,                                 )
                                                   )
                 Plaintiff,                        )
                                                   )
 v.                                                )         Civil No. 1:21-cv-00296-CMH-JFA
                                                   )
 FAIRFAX COUNTY SCHOOL BOARD,                      )
                                                   )
                 Defendant.                        )


              DEFENDANT’S OBJECTIONS TO PLAINTIFF’S WITNESS LIST

           The Defendant, Fairfax County School Board (“Defendant”), states the following

 objections to the Plaintiff’s Witness List, pursuant to Fed. R. Civ. P. 26(a)(3)(A)(ii):

      1.         Harry Jackson. Plaintiff has not timely or adequately disclosed this witness.

 Plaintiff did not disclose Mr. Jackson as a person likely to have discoverable information in its

 initial disclosures under Rule 26(a)(1)(A)(i), nor supplement its disclosures to so identify Mr.

 Jackson at any point throughout discovery.

      2.         Ying McCaskill. Plaintiff has not timely or adequately disclosed this witness.

 Plaintiff did not disclose Mr. McCaskill as a person likely to have discoverable information in its

 initial disclosures under Rule 26(a)(1)(A)(i), nor supplement its disclosures to so identify Mr.

 McCaskill at any point throughout discovery.

      3.         Dipika Gupta. Plaintiff has not timely or adequately disclosed this witness.

 Plaintiff did not disclose Ms. Gupta as a person likely to have discoverable information in its

 initial disclosures under Rule 26(a)(1)(A)(i), nor supplement its disclosures to so identify Ms.

 Gupta at any point throughout discovery.
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      4.        Asra Nomani, Glenn Miller, and Himanshu Verma. Plaintiff disclosed these

 witnesses as only having knowledge of the Coalition’s “Fourteenth Amendment interests in this

 case” in its initial disclosures under Rule 26(a)(1)(A)(i) and did not supplement its disclosures at

 any point throughout discovery to identify any other subjects of discoverable knowledge. The

 School Board, therefore, objects to these witnesses being permitted to testify to any matters other

 than Plaintiff’s “Fourteenth Amendment interests in this case.”

                                                Respectfully submitted,

                                                FAIRFAX COUNTY SCHOOL BOARD


                                                By:             /s/
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of November, 2021, I electronically filed the

 foregoing with the Clerk of the Court using the CM/ECF system, which will send a notification

 of such filing (NEF) to counsel of record for all Parties.




                                                             /s/
                                                Sona Rewari (VSB No. 47327)




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